February 09, 2007


Mr. Ronald J. Restrepo
Doyle  Restrepo Harvin &amp; Robbins, L.L.P.
600 Travis Street, Suite 4700
Houston, TX 77002-3005


Mr. Matthew R. Pearson
Gravely &amp; Pearson, L.L.P.
425 Soledad, 6th Floor
San Antonio, TX 78205
Honorable Jose Roberto Flores
Hidalgo County Courthouse, Attn: 139th District Court
100 North Closner Street
Edinburg, TX 78539

RE:   Case Number:  06-0920
      Court of Appeals Number:  13-06-00245-CV
      Trial Court Number:  C-821-03-B

Style:      IN RE  ALLSTATE TEXAS LLOYDS AND DAVID RADIGAN

Dear Counsel:

      Today  the  Supreme  Court  of  Texas  granted  Relators'  Motion  for
Emergency Relief and issued the enclosed stay order in the  above-referenced
case.  Pursuant to Tex. R. App. P. 55.1, you are requested  to  file  briefs
on the merits.  The petition for writ of  mandamus  remains  pending  before
this Court.
      Please refer to Tex. R. App. P. 55 for the requirements  of  relators'
and real parties in interest briefs.  Please note that any party  may  elect
to rely upon the briefs already on file with this Court  by  notifying  this
office in writing no later than the due date of the brief.  If you elect  to
rely upon a brief filed with the court of appeals, you must  provide  twelve
copies in accordance  with  Tex.  R.  App.  P.  9.3(b).   The  filing  of  a
notification letter shall invoke the same  timetable  as  the  filing  of  a
brief.  The petition for writ of mandamus has not been granted  and  remains
under consideration by the Court.
      The briefing schedule is outlined below.  See Tex. R.  App.  P.  55.7.
Please note that Tex. R. App. P. 9.2(b) does not apply.  All briefs are  due
to be filed in this office on or before 3:00 p.m. on the due date:


      Relator/s shall file their brief within thirty days of this  date  (on
      or before March 12, 2007).


      Real party/parties in interest shall file their response brief  within
      twenty days after receiving relator/s brief (no later  than  April  2,
      2007).


      Relator/s shall  file  any  reply  brief  within  fifteen  days  after
      receiving real party/parties in interest brief (no  later  than  April
      17, 2007).


      Additionally, the Court requests that parties submit  a  copy  of  all
briefs on the merits (including amicus and post-submission briefs)  and  the
respective petitions,  responses,  and  replies  -  already  on  file  -  in
electronic form within ten (10) days of the  date  of  this  letter.   Also,
please submit an electronic copy when filing the hard copies of  any  brief.
Please see the enclosed information for guidelines.

                                       Sincerely,
                                       [pic]


                                       Blake A. Hawthorne, Clerk


                                       by Claudia Jenks, Chief Deputy Clerk

Enclosures

|cc:|Ms. Cathy      |
|   |Wilborn        |
|   |Mr. Omar       |
|   |Guerrero       |

              INFORMATION ON SUBMISSION OF ELECTRONIC BRIEFING

      In order to make more information available  to  the  public  via  the
Court's website, we request that all briefs on the merits (including  amicus
and post-submission briefs) be submitted electronically.   Additionally,  in
all cases (such as this case) in which the Court requests full  briefing  on
the merits, the Court requests that you submit an electronic  copy  of  your
previously filed  petition  for  review,  petition  for  writ  of  mandamus,
response, or reply, etc., as applicable.  Please submit an  electronic  copy
of each filing in the following form and format when filing the hard  copies
of any brief.

      The Court asks the parties to submit  each  electronic  brief  in  the
following form and format:

        1. Each efiling should be submitted either by email  attachment  or
           on a separate 3 1/2 inch floppy disc/CD.


        2. Each email attachment or disc/CD must include information  or  a
           label, respectively, that identifies the case name,  the  docket
           number, type of filing (i.e.  petition  for  writ  of  mandamus,
           response, reply,  relator's  brief,  real  party  in  interest's
           brief, brief in reply, amicus brief),  and  the  word-processing
           software and version used to prepare the brief.   If  submitting
           by email, please attach a Certificate of Compliance.  A link  to
           the certificate can be found on the Supreme Court's  Website  at
           http://www.supreme.courts.state.tx.us/ebriefs.  If submitting an
           efiling on floppy  disc/CD,  please  enclose  a  Certificate  of
           Compliance with the disc/CD.


        3. If available, the Court prefers the use of searchable PDF  files
           because files in this format generally may not be  altered.   If
           this format is not available to you, please use either Microsoft
           Word (up to Word  2003  (Word  XP))  or  WordPerfect  version  7
           through 12.   Documents submitted  in  these  versions  will  be
           converted to searchable PDF by the Clerk's office.


        4. The email attachment or disc/CD must contain only an  electronic
           copy of the submitted filing. The email  attachment  or  disc/CD
           must not contain any document or material that is  not  included
           in the original hard copy of the filing with the Court.


        5. The email attachment or disc/CD must be free of viruses  or  any
           other files that would be disruptive  to  the  Court's  computer
           system.

        6. If submitting an efiling as an email attachment at the time  the
           brief is  filed,  please  advise  the  Clerk's  office  in  your
           transmittal  letter  accompanying  hard  copies;   please   send
           efilings to scebriefs@courts.state.tx.us.




                          CERTIFICATE OF COMPLIANCE

      At the request of the Court, I certify that  this  submitted  computer
disc/CD (or email attachment) complies with the following  requests  of  the
Court:


   1. 1.    This ebrief is labeled with  or  accompanied  by  the  following
      information:

        1. a.    Case Name: ____________________________________
        2. b.    The Docket Number: _____________________________
        3. c.    The Type of Brief(s): _____________________________
        4. _____________________________________________________
        5. _____________________________________________________
        6. d.    The Word Processing Software and Version Used  to  prepare
           the ebrief: __________________________________________________

        1. 2.    This  disc/CD  (or  email  attachment)  contains  only  an
           electronic copy of the submitted filing and does not contain any
           document or portion thereof that is not included in the filing.

        1. 3.    The electronic filing is free  of  viruses  or  any  other
           files that would be disruptive to the Court's  computer  system.
           The following software, if any, was used to ensure the filing is
           virus-free: _________________________________.

        1. 4.    I understand that a copy of this filing will be posted  on
           the Court's web site and becomes part of the Court's record.


_________________________________
(Signature of filing party and date)
_________________________________
(Printed name)
_________________________________
(Firm)

